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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                        NO.: 22-CR-40 (JRT/LIB)

                            Plaintiff,
                                                 STEVE SHAND’S SECOND
v.                                               MOTIONS IN LIMINE

STEVE ANTHONY SHAND,

                            Defendant.


       Steve Shand, by and through his attorneys, hereby submits the following motions in

limine. At this time Mr. Shand has received a copy of the Government’s exhibit list, but

still has not received copies of the Government’s proposed exhibits.

5.     Motion to Exclude Testimony

       On October 21, 2024, the Government disclosed expert witnesses. One expert is

Daryl Ritchison, the North Dakota State Climatologist Director. The Government’s

disclosure indicates he will testify about the weather on January 19, 2022. Subject matter

that appears consistent with Mr. Ritchison’s training. The disclosure also indicated he will

testify about frostbite and hypothermia. Subject matter that does not appear consistent with

his training or education. Mr. Ritchison’s education is related to earth science and

geography. He has worked as a meteorologist and a climatologist. His publications

address issues with corn yield. There is nothing to suggest he has any education or training

on the subjects of frostbite or hypothermia. His testimony about these subjects should be

excluded.




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6.     I-213 Forms – Exhibits 18-24

       The Government has not disclosed Exhibits 18-24, but it appears the Government

is referencing the I-213 forms in the exhibit list. (ECF No. 131). An I-213 form is a U.S.

Department of Homeland Security form titled Record of Deportable/Inadmissible Alien.

The forms found in the Rule 16(a) discovery consist of a biographical sheet of each alien

followed by multiple pages of narrative. Mr. Shand objects to the admission of the exhibits

on hearsay and Confrontation Clause grounds. See Fed.R.Evid. 803(8)(A)(ii).

       As the Government’s trial brief notes, the Eighth Circuit has not addressed the

admissibility of I-213 forms. The Circuits that have addressed the admissibility of I-213

forms have found that the admission of the biographical information portion of the form

can be proper. The key factor in these decisions was a finding that in those cases the form

was created in the course of the authoring agent’s non-adversarial duties and not in

anticipation of litigation. See United States v. Caraballo, 595 F.3d 1214, 1226 (11th Cir.

2010); United States v. Noria, 945 F.3d 847 859 (5th Cir. 2019).

       In support of admissibility of the I-213 forms the Government primarily cites to

three unpublished opinions. (ECF No. 132 at p. 22). Flores-Valle v. Garland, besides

being an unpublished opinion, is an opinion arising from the Board of Immigration (BIA),

a court that is not bound by the Rules of Evidence or the Sixth Amendment. The BIA

routinely uses not only I-213 forms, but police reports. Flores-Valle provides no guidance

in a criminal case. United States v. Guia-Lopez, also cited by the Government, and contrary

to the Government’s argument, does not support the admission of I-213 forms. In Guia-

Lopez, the Fifth Circuit addressed the admissibility of form G-166F. In that unpublished

case, based on the objections before that court, the biographical sections were deemed
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admissible. Then, the Fifth Circuit addressed the admissibility of the information on from

G-166F on a broader challenge and in the published opinion, United States v. Foreman, 84

F.4th 615, 620 (5th Cir. 2023), found the admission of G-166F inadmissible. There the

Fifth Circuit again instructed that the core issue is whether the public record was prepared

in anticipation of litigation. Simply because a form might most often be used for non-

litigation purposes does not create blanket admissibility, especially when the facts

demonstrate the form was created in what is clearly a situation where litigation is

anticipated. Finally, the Government’s reliance on the unpublished opinion in United

States v. Rodriguez is also misplaced. In Rodriguez, the Fifth Circuit relies on the holding

in Noria, that the test of admissibility is why the public document was prepared. If the

“primary” purpose in preparing a public record is anticipation of litigation, then

confrontation and Rule 803(8)(A)(ii) are implicated, and admissibility will be error.

Caraballo, 595 F.3d at 1229, citing Davis v. Washington, 547 U.S. 813, 828 (2006).

       The I-213 forms in this case were produced in anticipation of litigation and are thus

inadmissible. At 8:30 am on January 19, 2022, Mr. Shand was stopped by the Border

Patrol. A short time later several additional aliens were found by Border Patrol agents and

two of them were transported to a hospital. At 11:10 am Border Patrol Agent Huguley

contacted Homeland Security Criminal Investigations Special Agent John Stanley and

informed him of the events and asked if he was interested in the case. SA Stanley indicated

he was and immediately reported to the Pembina Border Patrol station. A little after 12:00

pm the Border Patrol agents were informed by the RCMP that four deceased individuals

were found in Canada near the area of the investigation. SA Stanley arrived on the scene

a short time later and began his criminal investigation. Exhibits 18-24 were created on
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January 19, 2022, at 10:09 pm. Over ten hours after the criminal investigation was begun.

The narratives attached to the first page of the I-213 forms detail that ongoing criminal

investigation. In this case, the I-213 forms were created during the course of clear criminal

investigation. Thus, the exhibits are excluded as hearsay and a violation of confrontation.

7.     Foreign National Passports and Visas – Exhibits 25-34 and 55-58

       The Government’s exhibit list includes a number of exhibits titled passports or visas.

The passports and visas were not issued by the United States. While certain government

documents are self-authenticating, a foreign public document that purports to be executed

by a government official is only self-authenticating if it is accompanied by an appropriate

certificate of genuineness made by the foreign country. See Fed.R.Evid. 902(3); United

States v. Pluta, 176 F.3d 43, 49 (2nd Cir. 1999). At this point the Government has provided

no such certificate of genuineness. In this case genuineness and certification are important

threshold matters as the very nature of the Government’s allegations traditionally involve

the use of fraudulent documentation.       Indeed, the Government intends to introduce

evidence of Co-Defendant Patel’s fraudulent driver’s license. The Government has had

years to prepare this case for trial. The Government’s failure to secure a certificate of

genuineness at this late stage cannot be excused. Exhibits 25-34 and 55-58 should be

excluded.

8.     Text Messages Between Mr. Shand and his Wife

       The Government seeks to introduce evidence of messages between Mr. Shand and

his wife. (ECF No. 126). Mr. Shand still has not received copies of the exhibits. He will

make additional specific objections once he has an opportunity to review the actual

proposed exhibits. At this time Mr. Shand moves to exclude his statements offered by the
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Government pursuant to Federal Rule of Evidence 801(d)(2). He also objects to the

portions of the conversations that are not his statements. Mr. Shand recognizes that the

Eighth Circuit has generally held that “Where a defendant's admissions are part of a

conversation with a third party who is not a witness, the court has discretion to admit the

non-witness's statements when they make the defendant's responses “intelligible to the jury

and recognizable as admissions.” United States v. Stelten, 867 F.2d 453, 454 (8th

Cir.1988) (per curiam). In that situation, the third-party statements are not offered for the

truth of the matter asserted by the non-witness, so they are not hearsay. Id.” United States

v. Lemon, 792 F.3d 941, 947 (8th Cir. 2015). Should the Court allow admission, Mr. Shand

objects on Rule 403 grounds and in relation to the text messages that purport to be

conversations about illegal activity.

       As for the Government’s argument that the statements are admissible as co-

conspirator statements, Mr. Shand submits that it appears the Government is using the

statements to establish the conspiracy. Without the texts, the Government only has a flight

receipt and vehicle rental record to argue that Mr. Shand’s wife was involved in the alleged

conspiracy.   While there might be reasonable suspicion that Mr. Shand’s wife was

involved, that does not rise to the level of preponderance of the evidence. Mr. Shand will

make more specific arguments once he has an opportunity to actually review the

Government’s proposed exhibits.




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       Mr. Shand will likely have further objections to exhibits once the Government

provides copies of the exhibits.



Dated: November 6, 2024.                              Respectfully submitted,

                                                      s / Aaron J. Morrison
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